Case 1:99-cV-01274-.]DB-tmp Document 89 Filed 05/06/05 Page 1 of 2 Page|D 74

ry -»~
1 -cD BY t
IN THE UNITED sTATES DISTRICT cOURT "--- D.e_
FOR THE WESTERN DISTRICT 0F TENNESSEE 05 my

EASTERN DIVISION `5 PH g ag
m z ,~,,‘
,C€E»: w ,;J_,_ @fgeouo
JAMES CREAMER, /VD.. QF ."`N-JACLISSTO!(\;I[
Plainriff,
v' No. 99-1274-13

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation.

q\
IT IS SO ORDERED this (= day Of May, 2005.

M

J. DANIEL BREEN
GLHM‘ED STATES DISTRICT JUDGE

 

This document entered on the docket sheet in compiiance
with Ruie 58 and/or 79 (a) FRCP on ._ W

 

Notice of Distribution

ThiS notice confirms a copy cf the document docketed as number 89 in
case 1:99-CV-01274 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

K. Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stcnebridge Blvd.

Jackson, TN 38305

Brandcn O. Gibscn

PENTECOST GLENN & RUDD, PLLC
106 Stcnebridge Blvd.

Jackson, TN 38305

J ames 1. Penteccst

PENTECOST GLENN & RUDD, PLLC
106 Stcnebridge Blvd.

Jackson, TN 38305

Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901--112

chcrable J. Breen
US DISTRICT COURT

